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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

______________________________________
                                       )
THE CENTER FOR INVESTIGATIVE           )
REPORTING, et al.,                     )
                                       )
      Plaintiffs,                      )
                                       )
      v.                               ) Civil Action No.: 19cv1726 (TNM)
                                       )
UNITED STATES                          )
DEPARTMENT OF STATE,                   )
                                       )
      Defendant.                       )
______________________________________ )

                                 NOTICE OF SETTLEMENT

         Pursuant to the Federal Rules of Civil Procedure, the parties to this action hereby notify

the Court that the parties have executed a settlement agreement regarding attorneys’ fees in

connection with this matter.



Dated:      July 9, 2020                      Respectfully submitted,

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